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 2   CAROLYN K. DELANEY
     Assistant U.S. Attorney
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     Sacramento, California 95814
 4   Telephone: (916) 554-2798
 5
 6
 7
 8             IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )          CR No. 2:06-cr-0101-MCE
                                  )
12             Plaintiff,         )
                                  )
13        v.                      )
                                  )          STIPULATION AND ORDER
14                                )
     JOANN RAMIREZ,               )
15                                )
               Defendant.         )
16   ____________________________ )
17
18        IT IS HEREBY stipulated between the United States of America
19   through its undersigned counsel, Carolyn K. Delaney, Assistant
20   United States Attorney, together with the defendant and her
21   counsel, Michael Bigelow, that the status conference currently
22   scheduled for February 20, 2007, be vacated and a new status
23   conference be scheduled on March 6, 2007.
24        It is further stipulated and agreed between the parties that
25   the time under the Speedy Trial Act should be excluded from
26   today’s date to March 6, 2007, under Local Code T4, Title 18,
27   United States Code, Section 3161 (h)(8)(B)(iv), to give the
28   defendant time to review the discovery and to adequately prepare.


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     Dated: February 16, 2007                Respectfully submitted,
 2
                                             McGREGOR W. SCOTT
 3                                           U.S. Attorney
 4                                           /s/ Carolyn K. Delaney
 5                                           CAROLYN K. DELANEY
                                             Assistant U.S. Attorney
 6
 7   Dated: February 16, 2007                /s/ Michael Bigelow
                                             MICHAEL BIGELOW
 8                                           Attorney for Joann Ramirez
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 6             IN THE UNITED STATES DISTRICT COURT FOR THE
 7                     EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,    ) CR No. 2:06-cr-0101-MCE
                                  )
10             Plaintiff,         )
                                  )
11        v.                      )
                                  ) ORDER
12                                )
     JOANN RAMIREZ,               )
13                                )
               Defendant.         )
14   ____________________________ )
15
16        IT IS HEREBY ORDERED:       That the status conference set for
17   February 20, 2007 is VACATED, and a status conference date of
18   March 6, 2007 is scheduled. It is further ORDERED that the time
19   under the Speedy Trial Act between today’s date and March 6,
20   2007, is excluded under Local Code T4, Title 18, United States
21   Code, Section 3161 (h)(8)(B)(iv), to give the defendant time to
22   adequately prepare and in the interests of justice.
23
     Dated:   February 26, 2007
24
                                      ________________________________
25                                    MORRISON C. ENGLAND, JR.
26                                    UNITED STATES DISTRICT JUDGE

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